 Case 2:17-cv-00028-JRG Document 6 Filed 03/30/17 Page 1 of 23 PageID #: 99



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS


SYMBOLOGY INNOVATIONS, LLC                       §
                                                 §
       Plaintiff,                                §    CIVIL ACTION NO. 2:17-cv-00028
                                                 §
       v.                                        §          JURY TRIAL DEMANDED
                                                 §
TCL CORPORATION, and                             §
TTE TECHNOLOGY, INC.,                            §
                                                 §
       Defendant.                                §


            FIRST AMENDED COMPLAINT FOR INFRINGEMENT OF PATENT

       COMES NOW, Plaintiff Symbology Innovations, LLC (“Symbology” or Plaintiff),

through the undersigned attorneys, and respectfully alleges, states, and prays as follows:

                                 NATURE OF THE ACTION

       1.      This is an action for patent infringement under the Patent Laws of the United

States, Title 35 United States Code (“U.S.C.”) to prevent and enjoin defendants TCL

Corporation and TTE Technology, Inc., (collectively “Defendant”), from infringing and

profiting, in an illegal and unauthorized manner and without authorization and/or of the consent

from Symbology, from U.S. Patent Nos. 8,424,752 (the “‘752 patent”, attached hereto as

Exhibits A); 8,651,369 (the “‘369 patent”, attached hereto as Exhibits B); 8,936,190 (the “‘190

patent”, attached hereto as Exhibits C); and 7,992,773 (the “‘773 patent”, attached hereto as

Exhibits D) (collectively the “Patents-In-Suit”) pursuant to 35 U.S.C. § 271, and to recover

damages, attorney’s fees, and costs.

                                         THE PARTIES

       2.      Plaintiff Symbology is a Texas company with its principal place of business at

1400 Preston Road, Suite 400, Plano, TX 75093.
 Case 2:17-cv-00028-JRG Document 6 Filed 03/30/17 Page 2 of 23 PageID #: 100




         3.      Upon information and belief, defendant TCL Corporation is a company organized

under the laws of China, having a principal place of business at No.19 Zone, Zhongkai High

Technology Development Zone Huizhou, Guangdong China. Upon information and belief,

Defendant may be served with process at the same place.

         4.      Upon information and belief, defendant TTE Technology, Inc., is a company

organized under the laws of the State of Delaware having a principal place of business at 2455

Anselmo Dr., Ste. 101, Corona, CA 92879-1227. Upon information and belief, Defendant may

be served with process at Business Filings Incorporated, 108 West 13th St., Wilmington, DE

19801.

                                 JURISDICTION AND VENUE

         5.      The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§§1331 and 1338(a) because the action arises under the Patent Laws of the United States, 35

U.S.C. §§ 1 et seq.

         6.      This Court has personal jurisdiction over Defendant by virtue of its systematic

and continuous contacts with this jurisdiction, including having the right to transact business in

Texas and active SOS file number, as well as because of the injury to Symbology, and the cause

of action Symbology has risen, as alleged herein.

         7.      Defendant is subject to this Court’s specific and general personal jurisdiction

pursuant to due process and/or the Texas Long Arm Statute, due at least to its substantial

business in this forum, including: (i) at least a portion of the infringements alleged herein; and

(ii) regularly doing or soliciting business, engaging in other persistent courses of conduct, and/or

deriving substantial revenue from goods and services provided to individuals in Texas and in this

judicial district.
 Case 2:17-cv-00028-JRG Document 6 Filed 03/30/17 Page 3 of 23 PageID #: 101




       8.      Defendant has conducted and does conduct business within the state of Texas,

including the geographic region within the Eastern District of Texas, directly or through

intermediaries, or offers and advertises (including through the use of interactive web pages with

promotional material) products or services, or uses services or products in Texas, including this

judicial district, in a manner that infringes the Patents-In-Suit.

       9.      Specifically, Defendant solicits business from and markets its services to

consumers within Texas, including the geographic region within the Eastern District of Texas, by

providing packaging that requires the use of a method for presenting information about an object

on a portable electronic device, as described in the Patents-In-Suit.

       10.     In addition to Defendant’s continuously and systematically conducting business in

Texas, the causes of action against Defendant are connected (but not limited) to Defendant’s

purposeful acts committed in the state of Texas including Defendant’s use of a method for

presenting information about an object on a portable electronic device, as described in the

Patents-In-Suit.

       11.     Venue lies in this judicial district pursuant to 28 U.S.C. §§1391 and 1400(b).

                                                 JOINDER

       12.     TCL Corporation and TTE Technology, Inc. are properly joined under 35 U.S.C.

§ 299(a)(1) because a right to relief is asserted against the parties jointly, severally, and in the

alternative with respect to the same transactions, occurrences, or series of transactions or

occurrences relating to using, the same accused products, as defined below. Specifically, as

alleged in detail below, TCL Corporation and TTE Technology, Inc. are alleged to infringe the

Patents-In-Suit with respect to the same product.
 Case 2:17-cv-00028-JRG Document 6 Filed 03/30/17 Page 4 of 23 PageID #: 102




       13.      TCL Corporation and TTE Technology, Inc. are properly joined under 35 U.S.C.

§ 299(a)(2). Questions of fact will arise that are common to all Defendants, including for

example, whether Defendants’ products and/or services have features that meet the features of

one or more claims of the Patents-In-Suit, and what reasonable royalty will be adequate to

compensate the owner of the Patents-In-Suit for their infringement.

       14.      TCL Corporation and TTE Technology, Inc. use products and/or offer services

that infringe on the Patents-In-Suit.

       15.      At least one right to relief is asserted against these parties jointly, severally, or in

the alternative with respect to or arising out of the same transaction, occurrence, or series of

transactions or occurrences relating to using the same accused product and/or process.

                                   FACTUAL ALLEGATIONS

                                                 ‘752 patent

       16.      On April 23, 2013, the United States Patent and Trademark Office (“USPTO”)

duly and legally issued the ‘752 patent, titled “System and method for presenting information

about an object on a portable electronic device” after a full and fair examination.

       17.      Symbology is presently the owner of the patent, having received all right, title and

interest in and to the ‘752 patent from the previous assignee of record. Symbology possesses all

rights of recovery under the ‘752 patent, including the exclusive right to recover for past

infringement.

       18.      The ‘752 patent contains three independent claims and twenty-five dependent

claims. Defendant uses, inter alia, methods that perform all the steps recited in at least one claim

of the ‘752 patent.
 Case 2:17-cv-00028-JRG Document 6 Filed 03/30/17 Page 5 of 23 PageID #: 103




        19.     The invention claimed in the ‘752 patent comprises a method for enabling a

portable electronic device to retrieve information about an object when the object’s symbology,

is detected.

                                                ‘369 patent

        20.     On February 18, 2014, the United States Patent and Trademark Office

(“USPTO”) duly and legally issued the ‘369 patent, titled “System and method for presenting

information about an object on a portable electronic device” after a full and fair examination.

        21.     Symbology is presently the owner of the patent, having received all right, title and

interest in and to the ‘369 patent from the previous assignee of record. Symbology possesses all

rights of recovery under the ‘369 patent, including the exclusive right to recover for past

infringement.

        22.     The ‘369 patent contains three independent claims and twenty-five dependent

claims. Defendant uses, inter alia, methods that perform all the steps recited in at least one claim

of the ‘369 patent.

        23.     The invention claimed in the ‘369 patent comprises a method for enabling a

portable electronic device to retrieve information about an object when the object’s symbology,

is detected.

                                                ‘190 patent

        24.     On January 20, 2015, the United States Patent and Trademark Office (“USPTO”)

duly and legally issued the ‘190 patent, titled “System and method for presenting information

about an object on a portable electronic device” after a full and fair examination.

        25.     Symbology is presently the owner of the patent, having received all right, title and

interest in and to the ‘190 patent from the previous assignee of record. Symbology possesses all
 Case 2:17-cv-00028-JRG Document 6 Filed 03/30/17 Page 6 of 23 PageID #: 104




rights of recovery under the ‘190 patent, including the exclusive right to recover for past

infringement.

        26.     The ‘190 patent contains three independent claims and seventeen dependent

claims. Defendant uses, inter alia, methods that perform all the steps recited in at least one claim

of the ‘190 patent.

        27.     The invention claimed in the ‘190 patent comprises a method for enabling a

portable electronic device to retrieve information about an object when the object’s symbology,

is detected.

                                                ‘773 patent

        28.     On August 9, 2011, the United States Patent and Trademark Office (“USPTO”)

duly and legally issued the ‘773 patent, titled “System and method for presenting information

about an object on a portable electronic device” after a full and fair examination.

        29.     Symbology is presently the owner of the patent, having received all right, title and

interest in and to the ‘773 patent from the previous assignee of record. Symbology possesses all

rights of recovery under the ‘773 patent, including the exclusive right to recover for past

infringement.

        30.     The ‘773 patent contains three independent claims and fifteen dependent claims.

Defendant uses, inter alia, methods that perform all the steps recited in at least one claim of the

‘190 patent.

        31.     The invention claimed in the ‘773 patent comprises a method for enabling a

portable electronic device to retrieve information about an object when the object’s symbology,

is detected.
 Case 2:17-cv-00028-JRG Document 6 Filed 03/30/17 Page 7 of 23 PageID #: 105




                                           COUNT I
                                INFRINGEMENT OF THE ‘752 PATENT

       32.     Plaintiff realleges and incorporates by reference the allegations set forth in

paragraphs 1 to 31.

       33.     In violation of 35 U.S.C. § 271, Defendant is now, and has been directly

infringing the ‘752 patent

       34.     Defendant has had knowledge of infringement of the ‘752 patent at least as of the

service of the present complaint.

       35.     On information and belief, Defendant has infringed and continues to infringe one

or more claims, including at least Claim 5, of the ‘752 patent by using and/or incorporating

Quick Response Codes (QR codes) in product packaging in a manner covered by one or more

claims of the ‘752 Patent. Defendant has infringed and continues to infringe the ‘752 Patent in

violation of 35 U.S.C. § 271.

       36.     On information and belief, Defendant has, at least through internal testing, used or

incorporated QR codes in product packaging, associating such QR codes with products and/or

services. One specific example of Defendant’s activity involves the use of QR codes on

packaging associated with Defendant’s products.

       37.     For example, on information and belief, Defendant has at least internally tested

the functionality of its QR codes in connection with its product packaging. On information and

belief, Defendant has captured a digital image of a QR code associated with product packaging,

an example of which is shown below.
Case 2:17-cv-00028-JRG Document 6 Filed 03/30/17 Page 8 of 23 PageID #: 106




      38.    On information and belief, at least through internal testing, Defendant has used a

digital image capturing device of a portable electronic device, such as the camera component of

a smart phone for example, to capture a digital image of the QR code associated with its

products and product packaging.

      39.    On information and belief, Defendant’s capture of the digital image is processed

by scanning technology loaded onto the portable electronic device. The scanning technology

detects symbology (for example, a pattern within the QR code) associated with an object (for

example, the product or service associated with the QR code). On information and belief the

scanning technology is used to decode the symbology to obtain a decode string. The decode

string is sent to a remote server for further processing. Based on the decode string, the remote

server sends information associated with the QR code, which is received by the user of the

portable electronic device and displayed on a display associated with the portable electronic

device.
 Case 2:17-cv-00028-JRG Document 6 Filed 03/30/17 Page 9 of 23 PageID #: 107




       40.    For example, if a user scans a QR code associated with Defendant’s product

packaging, scanning technology decodes the pattern of the QR code to obtain a decode string

and sends the decode string to a remote server. The server returns information associated with

the QR code. In this example, the information received by the user and displayed on the

portable electronic device is information related to Defendant’s products, such as information

related to Defendant’s products, and includes a website providing additional information about

the product as shown below.




       41.    On information and belief, Defendant, at least during internal use and testing, uses

a visual detection system (e.g., a smartphone camera and QR code scanning application) that is

configured to automatically detect symbology (e.g., the QR code scanning application and its

associated camera will automatically detect symbology in a QR code when said code is scanned).
Case 2:17-cv-00028-JRG Document 6 Filed 03/30/17 Page 10 of 23 PageID #: 108




       42.       By engaging in the conduct described herein, Defendant has injured Symbology

and is thus liable for infringement of the ‘752 patent, pursuant to 35 U.S.C. § 271.

       43.       Defendant has committed these acts of infringement without license or

authorization.

       44.       As a result of Defendant’s infringement of the ‘752 patent, Symbology has

suffered monetary damages and is entitled to a monetary judgment in an amount adequate to

compensate for Defendant’s past infringement, together with interests and costs.

       45.       Symbology will continue to suffer damages in the future unless Defendant’s

infringing activities are enjoined by this Court. As such, Symbology is entitled to compensation

for any continuing and/or future infringement up until the date that Defendant is finally and

permanently enjoined from further infringement.

                                          COUNT II
                                INFRINGEMENT OF THE ‘369 PATENT

       46.       Plaintiff realleges and incorporates by reference the allegations set forth in

paragraphs 1 to 45.

       47.       In violation of 35 U.S.C. § 271, Defendant is now, and has been directly

infringing the ‘369 patent.

       48.       Defendant has had knowledge of infringement of the ‘369 patent at least as of the

service of the present complaint.

       49.       On information and belief, Defendant has infringed and continues to infringe one

or more claims, including at least Claim 5, of the ‘369 Patent by using and/or incorporating

Quick Response Codes (QR codes) in product packaging in a manner covered by one or more

claims of the ‘369 Patent. Defendant has infringed and continues to infringe the ‘369 Patent in

violation of 35 U.S.C. § 271.
Case 2:17-cv-00028-JRG Document 6 Filed 03/30/17 Page 11 of 23 PageID #: 109




       50.    On information and belief, Defendant has, at least through internal testing, used or

incorporated QR codes in product packaging, associating such QR codes with products and/or

services. One specific example of Defendant’s activity involves the use of QR codes on

packaging associated with Defendant’s products.

       51.    For example, on information and belief, Defendant has at least internally tested

the functionality of its QR codes in connection with its product packaging. On information and

belief, Defendant has captured a digital image of a QR code associated with packaging, an

example of which is shown below.




       52.    On information and belief, at least through internal testing, Defendant has used a

digital image capturing device of a portable electronic device, such as the camera component of a

smart phone for example, to capture a digital image of the QR code associated with its products

and product packaging.
Case 2:17-cv-00028-JRG Document 6 Filed 03/30/17 Page 12 of 23 PageID #: 110




          53.   On information and belief, Defendant’s capture of the digital image is processed

by scanning technology loaded onto the portable electronic device. The scanning technology

detects symbology (for example, a pattern within the QR code) associated with an object (for

example, the products or service associated with the QR code). On information and belief the

scanning technology is used to decode the symbology to obtain a decode string. The decode

string is sent to a remote server for further processing. Based on the decode string, the remote

server sends information associated with the QR code, which is received by the user of the

portable electronic device and displayed on a display associated with the portable electronic

device.

          54.   For example, if a user scans a QR code associated with Defendant’s product

packaging, scanning technology decodes the pattern of the QR code to obtain a decode string

and sends the decode string to a remote server. The server returns information associated with

the QR code. In this example, the information received by the user and displayed on the

portable electronic device is information about Defendant’s products, such as information

related to Defendant’s products, and includes a website providing additional information related

to the product as shown below.
Case 2:17-cv-00028-JRG Document 6 Filed 03/30/17 Page 13 of 23 PageID #: 111




       55.       On information and belief, Defendant, at least during internal use and testing, uses

a visual detection system (e.g., a smartphone camera and QR code scanning application) that is

configured to automatically detect symbology (e.g., the QR code scanning application and its

associated camera will automatically detect symbology in a QR code when said code is scanned).

       56.       By engaging in the conduct described herein, Defendant has injured Symbology

and is thus liable for infringement of the ‘369 patent, pursuant to 35 U.S.C. § 271.

       57.       Defendant has committed these acts of infringement without license or

authorization.

       58.       As a result of Defendant’s infringement of the ‘369 patent, Symbology has

suffered monetary damages and is entitled to a monetary judgment in an amount adequate to

compensate for Defendant’s past infringement, together with interests and costs.
Case 2:17-cv-00028-JRG Document 6 Filed 03/30/17 Page 14 of 23 PageID #: 112




       59.     Symbology will continue to suffer damages in the future unless Defendant’s

infringing activities are enjoined by this Court. As such, Symbology is entitled to compensation

for any continuing and/or future infringement up until the date that Defendant is finally and

permanently enjoined from further infringement.

                                          COUNT III
                                INFRINGEMENT OF THE ‘190 PATENT


       60.     Plaintiff realleges and incorporates by reference the allegations set forth in

paragraphs 1 to 59.

       61.      In violation of 35 U.S.C. § 271, Defendant is now, and has been directly

infringing the ‘190 patent.

       62.     Defendant has had knowledge of infringement of the ‘190 patent at least as of the

service of the present complaint.

       63.     On information and belief, Defendant has infringed and continues to infringe one

or more claims, including at least Claim 5, of the ‘190 Patent by using and/or incorporating

Quick Response Codes (QR codes) in product packaging in a manner covered by one or more

claims of the ‘190 Patent. Defendant has infringed and continues to infringe the ‘190 Patent in

violation of 35 U.S.C. § 271.

       64.     On information and belief, Defendant has, at least through internal testing, used or

incorporated QR codes in product packaging, associating such QR codes with products and/or

services. One specific example of Defendant’s activity involves the use of QR codes on

packaging associated with Defendant’s products.

       65.     For example, on information and belief, Defendant has at least internally tested

the functionality of its QR codes in connection with its product packaging. On information and
Case 2:17-cv-00028-JRG Document 6 Filed 03/30/17 Page 15 of 23 PageID #: 113




belief, Defendant has captured a digital image of a QR code associated with packaging, an

example of which is shown below.




       66.    On information and belief, at least through internal testing, Defendant has used a

digital image capturing device of a portable electronic device, such as the camera component of a

smart phone for example, to capture a digital image of the QR code associated with its products

and product packaging.

       67.    On information and belief, Defendant’s capture of the digital image is processed

by scanning technology loaded onto the portable electronic device. The scanning technology

detects symbology (for example, a pattern within the QR code) associated with an object (for

example, the products or service associated with the QR code). On information and belief the

scanning technology is used to decode the symbology to obtain a decode string. The decode

string is sent to a remote server for further processing. Based on the decode string, the remote

server sends information associated with the QR code, which is received by the user of the
Case 2:17-cv-00028-JRG Document 6 Filed 03/30/17 Page 16 of 23 PageID #: 114




portable electronic device and displayed on a display associated with the portable electronic

device.

          68.   For example, if a user scans a QR code associated with Defendant’s product

packaging, scanning technology decodes the pattern of the QR code to obtain a decode string

and sends the decode string to a remote server. The server returns information associated with

the QR code. In this example, the information received by the user and displayed on the

portable electronic device is information about Defendant’s products, such as information

related to Defendant’s products, and includes a website providing additional information related

to the product as shown below.




          69.   On information and belief, Defendant, at least during internal use and testing, uses

a visual detection system (e.g., a smartphone camera and QR code scanning application) that is
Case 2:17-cv-00028-JRG Document 6 Filed 03/30/17 Page 17 of 23 PageID #: 115




configured to automatically detect symbology (e.g., the QR code scanning application and its

associated camera will automatically detect symbology in a QR code when said code is scanned).

       70.       By engaging in the conduct described herein, Defendant has injured Symbology

and is thus liable for infringement of the ‘190 patent, pursuant to 35 U.S.C. § 271.

       71.       Defendant has committed these acts of infringement without license or

authorization.

       72.       As a result of Defendant’s infringement of the ‘190 patent, Symbology has

suffered monetary damages and is entitled to a monetary judgment in an amount adequate to

compensate for Defendant’s past infringement, together with interests and costs.

       73.       Symbology will continue to suffer damages in the future unless Defendant’s

infringing activities are enjoined by this Court. As such, Symbology is entitled to compensation

for any continuing and/or future infringement up until the date that Defendant is finally and

permanently enjoined from further infringement.

                                        COUNT IV
                              INFRINGEMENT OF THE ‘773 PATENT


       74.       Plaintiff realleges and incorporates by reference the allegations set forth in

paragraphs 1 to 73.

       75.       In violation of 35 U.S.C. § 271, Defendant is now, and has been directly

infringing the ‘773 patent.

       76.       Defendant has had knowledge of infringement of the ‘773 patent at least as of the

service of the present complaint.

       77.       On information and belief, Defendant has infringed and continues to infringe one

or more claims, including at least Claim 4, of the ‘773 Patent by using and/or incorporating
Case 2:17-cv-00028-JRG Document 6 Filed 03/30/17 Page 18 of 23 PageID #: 116




Quick Response Codes (QR codes) in product packaging in a manner covered by one or more

claims of the ‘773 Patent. Defendant has infringed and continues to infringe the ‘773 Patent in

violation of 35 U.S.C. § 271.

       78.     On information and belief, Defendant has, at least through internal testing, used or

incorporated QR codes in product packaging, associating such QR codes with products and/or

services. One specific example of Defendant’s activity involves the use of QR codes on

packaging associated with Defendant’s products.

       79.     For example, on information and belief, Defendant has at least internally tested

the functionality of its QR codes in connection with its product packaging. On information and

belief, Defendant has captured a digital image of a QR code associated with packaging, an

example of which is shown below.




       80.     On information and belief, at least through internal testing, Defendant has used a

digital image capturing device of a portable electronic device, such as the camera component of a
Case 2:17-cv-00028-JRG Document 6 Filed 03/30/17 Page 19 of 23 PageID #: 117




smart phone for example, to capture a digital image of the QR code associated with its products

and product packaging.

       81.     On information and belief, Defendant’s capture of the digital image is processed

by scanning technology loaded onto the portable electronic device. The scanning technology

detects symbology (for example, a pattern within the QR code) associated with an object (for

example, the products or service associated with the QR code). On information and belief the

scanning technology is used to decode the symbology to obtain a decode string. The decode

string is then sent to a visual detection application residing on a portable electronic device (i.e.,

camera residing in the smart phone) for processing. On information and belief the portable

electronic device then receives from the visual detection application a first amount of

information about the object (e.g., URL corresponding to website associated with Defendant’s

products or services). After the first amount of information is received, the decode string is sent

to a remote server for processing and a second amount of information (e.g., website and content

related to Defendant’s products or services) about the object is received by the portable

electronic device. On information and belief the first and second amounts of information are then

combined to obtain cumulative information (e.g., a display of both the URL and the

corresponding website related to Defendant’s products or services) to be displayed in the

portable electronic device (e.g., on the display of the smart phone or tablet).

       82.     For example, the cumulative information received by the user and displayed on

the portable electronic device includes the URL and the corresponding website related to

Defendant’s products or services, as shown below.
Case 2:17-cv-00028-JRG Document 6 Filed 03/30/17 Page 20 of 23 PageID #: 118




       83.     Furthermore, an on information and belief, the portable electronic device utilized

by Defendant, at least during internal use and testing, allows for a visual detection system (e.g.

the camera functionality in combination with the QR Code Scanning application) to run in the

background with respect to other systems associated with the mobile device (e.g. the QR Code

scanning application and its corresponding camera functionality can run in the background in

standby), the visual detection systems comprising one or more visual detection applications (e.g.

QR code scanning applications) and one or more visual detection devices (e.g. the camera

integrated on the smartphone), the one or more visual detection devices configured to detect the

symbology associated with the object (e.g. the camera on the smartphone is configured to detect

and decode QR codes via the QR code scanning application). As shown below, the visual

detection systems can run in the background with respect to other systems associated with the

portable electronic device.
Case 2:17-cv-00028-JRG Document 6 Filed 03/30/17 Page 21 of 23 PageID #: 119




       84.       On information and belief, Defendant, at least during internal use and testing, uses

a visual detection system (e.g., a smartphone camera and QR code scanning application) that is

configured to automatically detect symbology (e.g., the QR code scanning application and its

associated camera will automatically detect symbology in a QR code when said code is scanned).

       85.       By engaging in the conduct described herein, Defendant has injured Symbology

and is thus liable for infringement of the ‘773 patent, pursuant to 35 U.S.C. § 271.

       86.       Defendant has committed these acts of infringement without license or

authorization.
Case 2:17-cv-00028-JRG Document 6 Filed 03/30/17 Page 22 of 23 PageID #: 120




        87.    As a result of Defendant’s infringement of the ‘773 patent, Symbology has

suffered monetary damages and is entitled to a monetary judgment in an amount adequate to

compensate for Defendant’s past infringement, together with interests and costs.

        88.    Symbology will continue to suffer damages in the future unless Defendant’s

infringing activities are enjoined by this Court. As such, Symbology is entitled to compensation

for any continuing and/or future infringement up until the date that Defendant is finally and

permanently enjoined from further infringement.

                                     DEMAND FOR JURY TRIAL

   89. Symbology demands a trial by jury of any and all causes of action.

                                     PRAYER FOR RELIEF

        WHEREFORE, Symbology prays for the following relief:

        a.     That Defendant be adjudged to have directly infringed the Patents-In-Suit either

literally or under the doctrine of equivalents;

        b.     That Defendant, its officers, directors, agents, servants, employees, attorneys,

affiliates, divisions, branches, parents, and those persons in active concert or participation with

any of them, be permanently restrained and enjoined from directly infringing the ‘Patents-In-

Suit;

        c.     An award of damages pursuant to 35 U.S.C. §284 sufficient to compensate

Symbology for the Defendant’s past infringement and any continuing or future infringement up

until the date that Defendant is finally and permanently enjoined from further infringement,

including compensatory damages;

        d.     An assessment of pre-judgment and post-judgment interest and costs against

Defendant, together with an award of such interest and costs, in accordance with 35 U.S.C. §284;
Case 2:17-cv-00028-JRG Document 6 Filed 03/30/17 Page 23 of 23 PageID #: 121




       e.      That Defendant be directed to pay enhanced damages, including Symbology’s

attorneys’ fees incurred in connection with this lawsuit pursuant to 35 U.S.C. §285; and

       f.      That Symbology have such other and further relief as this Court may deem just

and proper.

Dated: March 30, 2017                         Respectfully Submitted,

                                              By: /s/Eugenio J. Torres-Oyola
                                              Eugenio J. Torres-Oyola
                                              USDC No. 215505
                                              Ferraiuoli LLC
                                              221 Ponce de León Avenue, 5th Floor
                                              San Juan, PR 00917
                                              Telephone: (787) 766-7000
                                              Facsimile: (787) 766-7001
                                              Email: etorres@ferraiuoli.com
                                              Jean G. Vidal Font
                                              USDC No. 227811
                                              Ferraiuoli LLC
                                              Email: jvidal@ferraiuoli.com
                                              ATTORNEYS FOR PLAINTIFF
                                              SYMBOLOGY INNOVATION LLC


                                CERTIFICATE OF SERVICE

The undersigned certifies that the foregoing document was filed electronically in compliance

with Local Rule CV-5(a). As such, this document was served on all counsel who are deemed to

have consented to electronic service. Local Rule CV-5(a)(3)(A). Pursuant to Fed. R. Civ. P. 5(d)

and Local Rule CV-5(d) and (e), all other counsel of record not deemed to have consented to

electronic service were served with a true and correct copy of the foregoing by email, on this 30th

day of March, 2017.

                                                     /s/Eugenio J. Torres-Oyola
                                                     Eugenio J. Torres-Oyola
